
PER CURIAM.
By petition for a writ of certiorari we are requested to review a decision of the District Court of Appeal, 178 So.2d 608, which allegedly conflicts with prior decisions of this court.
Our initial examination of the petition and record suggested a possible jurisdictional conflict. We issued the writ and have heard arguments on both jurisdiction and merits.
After a thorough consideration of the petition and record we are now led to conclude that no jurisdictional conflict of decisions is present. Finding, therefore, *309that the writ was improvidently issued, it is hereby discharged.
It is so ordered.
THORNAL, C. J., and THOMAS, ROBERTS, CALDWELL and ERVIN, JJ., concur.
